Case 3:21-md-02981-JD Document 608-19 Filed 09/21/23 Page 1 of 3




                 EXHIBIT 18
Sent:      Tue 10/12/2021 4:53:17 AM (UTC)
From:                 Case 3:21-md-02981-JD Document 608-19 Filed 09/21/23
           sundar@google.com                                                           Page 2 of 3
To:        sundar@google.com, emilysinger@google.com
Subject:   AAAArXi46TM-MBI-THREADED:SBgcVRDjcBQ%%%2021-10-11T09:53: 16.093967


 sundar@google.com 2021-10-12T04:53:16.093Z

 Need the link for my leaders circle tomorrow

 sundar@google.com 2021-10-12T04:53:28.379Z

 also can we change the setting of this group to history off

 Deleted on2021-10-12T04:53:37.199Z

 also can we change the setting of this group to history off

 sundar@google.com 2021-10-12T04:53:29.309Z

 thanks

 emilysinger@google.com 2021-1 0- l 2T04 :53: 40. 021 Z

 Sure: here is link ...

 emilysinger@google.com 2021-10-12T04:53:45.767Z

 https://docs.google.com/document/d/l 6lxXL_ k0ok6NhDX0nTZw-tr76LZpgODBp_ CfqTdotTs/edit?resourcekey=0-
 - CNmvgHKQGULhTywnpcXgg

 https://drivc.google.com/open?id=l6lxXL k0ok6NhDXOnTZw-tr76LZpgODBp CfgTdotTs
 https://docs.google.com/documcnt/d/16lxXL k0ok6NhDX0nTZw-tr76LZpgODBp CfgTdotTs/cdit?rcsourcekey-0-
  CNmvgHKOGULhTy npcXgg
 sundar@google.com 2021-10-12T04:55:19. l 77Z

 thanks

 sundar@google.com 2021-10-12T05:l 7:38.026Z

 the third question is a bit of a mess

 sundar@google.com 2021-10-12T05:l 7:58.544Z

 not fully clear - as it covers a lot and long meandering answer which not clear too

 sundar@google.com 2021-10-12T05:18:l l.582Z

 am talking about google apps , building for companies, future of work etc

 sundar@google.com 2021-1 0- l 2T05: 18: l 7.4 l 8Z

 the other three are good

 emilysinger@google.com 2021-10-12T05:18:25.635Z

 Ok will take a look and try to restructure to make cleare

 emilysinger@google.com 2021-10-12T05:18:27.855Z


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r                   Case 3:21-md-02981-JD Document 608-19 Filed 09/21/23 Page 3 of 3
emilysinger@google.com 2021-10-12T05:59:l 7.394Z

I simplified the answer for Q # 3 considerably. Just two parts to it now, both of which will be familiar themes. Sorry it took
a bit to get there.

sundar@google.com 2021-10-12T06:09:06.559Z

Thanks!




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